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The following constitutes the ruling of the court and has the force and effect therein described.



Signed September 11, 2024
                                           United States Bankruptcy Judge
______________________________________________________________________




                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF TEXAS
                                                  WICHITA FALLS DIVISION

         IN RE:                                                                    §
                                                                                   §
         HIGH PLAINS RADIO NETWORK,                                                §   CASE NO. 24-70089-swe11
         LLC,                                                                      §
              DEBTOR.                                                              §
                                                                                   §

                  ORDER GRANTING MOTION TO APPROVE PROCEDURES RELATED
                  TO SALES OF RADIO STATION ASSETS AND TO LIMIT FUTURE
                  NOTICES (RE: DOCKET NO. 175)

                  On August 19, 2024, the Court conducted a hearing regarding the Motion to Approve

      Procedures Related to Sales of Radio Station Assets and to Limit Future Notices (Docket No. 175)

      (the “Motion for Sale Procedures” or the “Motion”) filed herein on August 2, 2024, by High Plains

      Radio Network LLC, debtor and debtor in possession (“HPRN” or the “Debtor”).




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            The Court finds that HPRN provided due and appropriate notice of the Motion, the relief

requested therein, and the expedited hearing to the parties entitled to receive notice (collectively,

the “Noticed Parties”).

            Upon the record established at the hearing, the Court makes the following findings and

otherwise is of the opinion that the following Order should be entered.

                                  THE COURT FINDS AND DETERMINES THAT:

A.          Sale and Assumption and Assignment Procedures.

            The Debtor has articulated good and sufficient reasons for authorizing and approving the

Sale Procedures and the Assumption and Assignment Procedures, as fair, reasonable, and

appropriate under the circumstances and designed to achieve the highest or otherwise best offer

and to maximize the value of Debtor’s estate. The Debtor, with the assistance of its Broker, has

engaged and continues to engage in a fulsome marketing and sale process to solicit and develop

the highest or otherwise best offers for the assets (herein the “Radio Station Assets”) of the Debtor.

The Sale Procedures and the Assumption and Assignment Procedures are designed to build on that

marketing and sale process following entry of this Order.


B.          Notice of the Motion.

            The notice of the Motion and of the Hearing is reasonable and sufficient in light of the

circumstances and nature of the relief requested in the Motion, and no other or further notice of

the Motion or the sale Hearing is necessary. A reasonable and fair opportunity to object to the

Motion and the relief granted in this Order has been afforded under the circumstances.


C.          Sale Notice.

            The Sale Notice (as defined herein), substantially in the form attached hereto as Exhibit

H030.01, is reasonably calculated to provide all interested parties with timely and proper notice of

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the proposed sale, including: (i) the Radio Station Assets to be sold, the Buyer, the sales price, and

related information; (ii) the objection deadline for the sale of the Radio Station Assets and the date,

time and place of the Hearing, if scheduled; (iii) a copy of the relevant Purchase and Sale

Agreement; and (iv) representations describing the sale as being free and clear of liens, claims,

encumbrances, and other interests, with all such liens, claims, encumbrances, and other interests

attaching with the same validity and priority to the sale proceeds, and no other or further notice of

any sale shall be required.

D.          Assumption and Assignment Notice.

            The Assumption and Assignment Notice (as defined herein), substantially in the form

attached hereto as Exhibit H031.01, is reasonably calculated to provide all interested parties with

timely and proper notice of the proposed assumption of Assignable Contracts and assignment of

such contracts to the Buyer, including: (i) identification of the Assignable Contracts, the

Assumption and Assignment Counterparty (as defined herein), and the proposed Cure Amount (as

defined herein); (ii) the Assumption and Assignment Procedures and certain dates and deadlines

related thereto; (iii) the objection deadline and the date, time and place of the Hearing, if scheduled;

and (iv) representations describing the legal consequences of the assumption and assignment of

the Assignable Contracts, and no other or further notice of such assumption and assignment shall

be required.

NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

            1.          The Motion is GRANTED on a final basis as set forth herein.

            2.          The Debtor is authorized to utilize the Sale Procedures and Assumption and

Assignment Procedures to sell the Radio Station Assets under this Order.




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I.          Sale Procedures and Related Relief

            3.          The following procedures with respect to sales of the Radio Station Assets (the

“Sale Procedures”) are hereby approved:

                        a.          Sale Notice. The Debtor will file one or more Notice of Proposed Sale with
                                    the Court (each, a “Sale Notice”) regarding the particular Radio Station
                                    Assets that it is seeking to sell to a potential purchaser (the “Buyer”)
                                    pursuant to Code § 363. Each Sale Notice shall provide, among other
                                    relevant information: (i) a copy of the sales contract, which will identify,
                                    among other things, the Buyer and the purchase price; (ii) the compensation
                                    to be paid to the Broker upon sale closing; (iii) the proposed closing date of
                                    the sale (the “Closing Date”); (iv) the Assignable Contracts (if any) related
                                    to such sale; and (v) a copy of the proposed Sale Order for that sale.

                        b.          Sale Notice Parties. The Debtor will cause the Sale Notice (together with
                                    any related Assumption and Assignment Notice) to be filed on the Court’s
                                    docket and served by e-mail or first class mail upon the following parties
                                    (collectively, the “Sale Notice Parties”): (i) the Office of the United States
                                    Trustee; (ii) the Internal Revenue Service; (iii) counsel for Vertical Bridge
                                    REIT, LLC and its affiliates (collectively “Vertical Bridge”), (iv) all parties
                                    who are known to possess or assert a lien, claim, encumbrance, or interest
                                    in or upon all or part of the particular Radio Station Assets; (v) all applicable
                                    United States, state, and local regulatory or taxing authorities, recording
                                    offices or any governmental entity which have a reasonably known interest
                                    in the Radio Station Assets; (vi) the Debtor’s top 20 unsecured creditors;
                                    and (vii) any party requesting notice in the case. The Sale Notice will be
                                    sent by direct e-mail to all such parties in addition to ECF and/or regular
                                    mail notice, as applicable.

                        c.          Objections to Proposed Sale. Any objections to a proposed sale must be
                                    filed with the Court and served so as to be actually received by Debtor’s
                                    counsel and the Sale Notice Parties no later than fourteen (14) calendar
                                    days after service of the Sale Notice (the “Sale Objection Deadline”).

                        d.          No Timely Objections — Entry of Sale Order. In the event that no party
                                    files an objection to a Sale Notice by the Sale Objection Deadline, then the
                                    Court may enter an order approving the sale (the “Sale Order”) for the
                                    applicable Radio Station Assets (that are the subject of the relevant Sale
                                    Notice) without further notice or a hearing.

                        e.          Hearing if Timely Objection. In the event of any timely objection to a
                                    Sale Notice, a hearing regarding the Sale Notice and any related
                                    Assumption and Assignment Notice (the “Hearing”) will be held at the
                                    Court’s earliest convenience after expiration of the Sale Objection
                                    Deadline. If an objection is properly filed and served on the Debtor’s

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                                    counsel and the Sale Notice Parties as specified above, unless such parties
                                    agree otherwise in writing, such Radio Station Assets will only be deemed
                                    sold upon entry by the Court of a consensual form of Sale Order resolving
                                    the objection as between the objecting party and the Debtor, or, if resolution
                                    is not reached, upon further order of the Court.

                        f.          Modification of Sale Notice. The Debtor reserves the right to remove any
                                    Radio Station Assets from a Sale Notice at any time prior to the Closing
                                    Date, subject to prior consultation with Vertical Bridge.

                        g.          Waiver of Rule 6004(h). Each Sale Notice and proposed Sale Order may
                                    provide that the 14-day stay of Fed. R. Bankr. P. 6004(h) shall not apply to
                                    the relief granted in the Sale Order.

                        h.          Any party wishing to submit a higher bid for consideration must file an
                                    objection to the Sale Notice on or before the Sale Objection Deadline.

II.         Assumption and Assignment Procedures

            4.          The following procedures (the “Assumption and Assignment Procedures”) are

approved in connection with the assumption and assignment:

                        a.          Assumption and Assignment Notice. In conjunction with each Sale
                                    Notice discussed above, the Debtor will file one or more Assumption and
                                    Assignment Notices with the Court (each, an “Assumption and Assignment
                                    Notice”) with a list of those contracts and leases that the Debtor seeks to
                                    assume pursuant to Code § 365 and assign to the Buyer of the Radio Station
                                    Assets specified in each such Sale Notice. The Assumption and Assignment
                                    Notice shall set forth, among other relevant information: (i) the contracts
                                    and leases to be assumed and assigned (the “Assignable Contracts”); (ii) the
                                    names and addresses of the counterparties to such Assignable Contracts (the
                                    “Assumption and Assignment Counterparties”); (iii) the identity of the
                                    proposed assignee of such Assignable Contracts (i.e., the Buyer); (iv) the
                                    proposed effective date of the assumption and assignment for the
                                    Assignable Contracts, which will correspond with the Closing Date for the
                                    related Radio Station Assets; (v) the proposed amount, if any with respect
                                    to each Assignable Contract necessary to cure any existing default and/or
                                    compensate the contract counterparty for any actual pecuniary loss
                                    associated with any existing default (the “Cure Amount”); (vi) information
                                    establishing the Buyer’s ability to provide adequate assurance of future
                                    performance; and (vii) the deadlines and procedures for filing objections to
                                    the proposed assumption and assignment.

                        b.          Assumption and Assignment Notice Parties. The Debtor will cause the
                                    Assumption and Assignment Notice to be filed on the Court’s docket and
                                    served by e-mail or first class mail, together with all information set forth

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                                    in Section II.4.a above, upon the following parties (collectively, the
                                    “Assumption and Assignment Procedure Parties”): (i) the Office of the
                                    United States Trustee; (ii) the Internal Revenue Service; (iii) counsel for
                                    Vertical Bridge, (iv) each Assumption and Assignment Counterparty;
                                    (v) the Buyer; and (vii) any party requesting notice in the case. The
                                    Assumption and Assignment Notice will also be sent via overnight delivery
                                    on each affected Assumption and Assignment Counterparty and proposed
                                    assignee.

                        c.          Objections to Proposed Assumption and Assignment. Any objections to
                                    a proposed assumption and assignment of an Assignable Contract must be
                                    filed with the Court and served so as to be actually received by the Debtor’s
                                    counsel and the Assumption and Assignment Procedure Parties no later than
                                    fourteen (14) calendar days after service of the Assumption and
                                    Assignment Notice (the “Assumption and Assignment Objection
                                    Deadline”).

                        d.          No Timely Objections — Entry of Order Assuming and Assigning. In
                                    the event that no party files an objection to an Assumption and Assignment
                                    Notice by the Assumption and Assignment Objection Deadline, then the
                                    Court may enter the Sale Order for the applicable Radio Station Assets (that
                                    are the subject of the relevant Assumption and Assignment Notice) without
                                    a hearing.

                                    Each Sale Order will include provisions for both for a Code §363 sale of
                                    the Radio Station Assets and the assumption and assignment of the
                                    relevant contracts and leases as provided in the Assumption and
                                    Assignment Notice.

                        e.          Hearing if Timely Objection. In the event of a timely filed objection, the
                                    Hearing regarding the Assumption and Assignment Notice and any related
                                    Sale Notice, will be held at the Court’s earliest convenience after expiration
                                    of the Assumption and Assignment Objection Deadline (to correspond with
                                    the sale Hearing). If an objection is properly filed and served on the
                                    Debtor’s counsel and the Assumption and Assignment Procedure Parties as
                                    specified above, unless such parties agree otherwise in writing, such
                                    contract and/or lease will only be deemed assumed and assigned upon entry
                                    by the Court of a consensual form of order resolving the objection as
                                    between the objecting party and the Debtor, or, if resolution is not reached,
                                    upon further order of the Court.

                        f.          Modification of Assumption and Assignment Notice. The Debtor
                                    reserves the right to remove any contract or lease from an Assumption and
                                    Assignment Notice at any time prior to the closing, subject to prior
                                    consultation with Vertical Bridge.



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                        g.          Waiver of Rule 6004(h). Each Sale Notice and proposed Sale Order may
                                    provide that the 14-day stay of Fed. R. Bankr. P. 6004(h) shall not apply to
                                    the relief granted in the Sale Order.

            5.          The Debtor is authorized to take all actions as are necessary or appropriate to

implement the Assumption and Assignment Procedures.

            6.          Other than as expressly set forth in this Order or the Sale Procedures, the Debtor

reserves its rights, in its reasonable business judgment and in a manner consistent with its fiduciary

duties and applicable law, after prior consultation with Vertical Bridge, to modify the Assumption

and Assignment Procedures, in any manner that it reasonably determine will best promote the

goals of the Assumption and Assignment Procedures, or impose additional customary terms and

conditions in connection with a proposed assumption and assignment, including without limitation

extending the deadlines set forth in the Assumption and Assignment Procedures or modifying the

form of Assumption and Assignment Notice.

            7.          Only those Assignable Contracts that are included on a final Assumption and

Assignment Notice will be assumed and assigned to the Buyer.

III.        Other Related Relief

            8.          The Court finds and determines that the requirements of Bankruptcy Rule 6003 are

satisfied, and that the relief requested is necessary to avoid immediate and irreparable harm.

            9.          Notwithstanding Bankruptcy Rule 6004(h) or 6006(d), this Final Order shall be

effective and enforceable immediately upon its entry.

            10.         All time periods set forth in this Final Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).




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            11.         To the extent the provisions of this Final Order are inconsistent with the provisions

of any exhibits referenced herein or with the Motion, the provisions of this Final Order shall

control.

            12.         The Debtor is authorized and empowered to take all actions they deem necessary

to implement the relief granted in this Final Order in accordance with the Motion and to implement

the Sale Procedures and Assumption and Assignment Procedures.

            13.         This Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation or enforcement of this Final Order.

            14.         Nothing herein shall authorize a sale of BankFinancial's Collateral, as defined in

BankFinancial's limited objection to the proposed sale procedures order (Docket No. 178) (the

"Limited Objection"), in multiple lots.

            15.         Notwithstanding any other provisions of the Motion or this Final Order,

BankFinancial, expressly reserves all rights to object to a final sale order on the same grounds as

set forth in BankFinancial's Limited Objection, including any dispute or objection on whether

Code § 363(f) has been satisfied and whether the sale of collateral claimed by BankFinancial, may

be sold free and clear of liens. BankFinancial, may raise any such reserved rights to a final sale

order by the deadline to object to any sale motion authorizing the sale of Debtor’s assets free and

clear of liens as set forth in this Final Order, or any other date mutually agreed upon by the parties

in writing. Further, the rights of BankFinancial's under Code § 1111(b) hereby are preserved.

            16.         BankFinancial shall be entitled to credit bid all or a portion of the face value of the

allowed secured claim of BankFinancial against the Debtor toward the Purchase Price specified in

any bid of BankFinancial; provided, however, that BankFinancial shall be entitled to credit bid its




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claim(s) only with respect to the Radio Station Assets that are subject to a valid and perfected lien

in favor of such BankFinancial.

            17.         The shortened forms of notice attached hereto as Exhibit H032, Exhibit H033, and

Exhibit H034 are approved for providing regular mail notice of this Order, a Sale Notice, and an

Assumption and Assignment Notice, as applicable.




                                                       ####END OF ORDER####


Submitted by:

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ATTORNEYS FOR
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DEBTOR AND DEBTOR IN POSSESSION




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